                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN



MARK A. PETERSON,

       Plaintiff,

     v.                                                   Case No. 14-CV-1072

CITY OF MILWAUKEE,

      Defendant.


                     DECISION AND ORDER ON DEFENDANT’S
                       MOTION FOR SUMMARY JUDGMENT


       Mark A. Peterson brings this lawsuit against his employer, the City of Milwaukee,

alleging that he was discriminated against on the basis of his race and retaliated against for

filing an employment discrimination complaint. The City has moved for summary judgment

on Peterson’s claims. For the reasons I will explain here, the City’s motion is granted and

the case is dismissed.

                         SUMMARY JUDGMENT STANDARD

       The court shall grant summary judgment if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a matter of

law. Fed. R. Civ. P. 56(a); see also Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986);

Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986). “Material facts” are those under the

applicable substantive law that “might affect the outcome of the suit.” See Anderson, 477

U.S. at 248. The mere existence of some factual dispute does not defeat a summary




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judgment motion. A dispute over a “material fact” is “genuine” if “the evidence is such that

a reasonable jury could return a verdict for the nonmoving party.” Id.

        In evaluating a motion for summary judgment, the court must draw all inferences in

a light most favorable to the nonmovant. Matsushita Electric Industrial Co., Ltd. v. Zenith Radio

Corp., 475 U.S. 574, 587 (1986). However, when the nonmovant is the party with the

ultimate burden of proof at trial, that party retains its burden of producing evidence which

would support a reasonable jury verdict. Celotex Corp., 477 U.S. at 324. Evidence relied upon

must be of a type that would be admissible at trial. See Gunville v. Walker, 583 F.3d 979, 985

(7th Cir. 2009). To survive summary judgment, a party cannot rely on his pleadings and

“must set forth specific facts showing that there is a genuine issue for trial.” Anderson, 477

U.S. at 248. “In short, ‘summary judgment is appropriate if, on the record as a whole, a

rational trier of fact could not find for the non-moving party.’” Durkin v. Equifax Check

Services, Inc., 406 F.3d 410, 414 (7th Cir. 2005) (citing Turner v. J.V.D.B. & Assoc.,Inc., 330

F.3d 991, 994 (7th Cir. 2003)).

                                                    FACTS1

        Plaintiff Mark A. Peterson worked for the Milwaukee Police Department as a

detective at all times relevant to this case. (Def.’s Reply to Plaintiff’s Proposed Findings of

Fact (“PPFOF”) ¶ 1.) Peterson has been assigned to the Homicide Investigations Unit since

the late 1990s. (PPFOF ¶ 2.)




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  The plaintiff did not respond to the defendant’s proposed findings of fact. Therefore, the facts are undisputed and
taken as true, to the extent they are not controverted by Peterson’s proposed findings of fact. Civil L.R. 56(b)(4)
(E.D. Wis.) (“The Court will deem uncontroverted statements of material fact admitted solely for the purpose of
deciding summary judgment.”).
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       Administrative Duties

       On January 31, 2009, Peterson’s son, Michael Peterson, committed an armed

robbery. (PPFOF ¶ 3; Defendant’s Proposed Findings of Fact (“DPFOF”) ¶ 3.) Michael was

ultimately convicted. (DPFOF ¶ 3.) Michael was arrested shortly after the crime was

committed; soon thereafter, the victim reported receiving phone calls from an unknown

person attempting to offer him money or otherwise intimidate him in order to get him to

drop the charges and not cooperate in the prosecution against Michael. (DPFOF ¶ 4; PFOF

¶ 4.) The victim made a digital recording of one of the phone calls and provided it to the

Milwaukee Police Department (“MPD”). (DPFOF ¶ 5; PPFOF ¶ 5.) The victim then

discovered that Michael’s father was a member of the MPD and filed a complaint against

Peterson alleging that the detective had placed the intimidating phone calls. (DPFOF ¶ 6.)

Parallel investigations were conducted by both the MPD and the Milwaukee District

Attorney’s Office. (DPFOF ¶ 7.) The DA’s Office opened a John Doe investigation under

Wis. Stat. § 968.26 (DPFOF ¶ 8) on March 30, 2009 (PPFOF ¶ 18). By law, the John Doe

investigation was completely separate from the MPD’s investigation; evidence was sealed

and MPD had no access to the information or evidence obtained in the course of the John

Doe investigation. (Id.) Though the MPD and DA’s Office can share information when

their investigations occur simultaneously, the DA’s Office uses its own investigators.

(DPFOF ¶ 9.) The MPD has no supervision, nor does it have any influence or input into the

John Doe investigation or control its timing or length. (Id.) When, how, and if a John Doe

investigation occurs is entirely up to the DA’s Office. (DPFOF ¶ 10.)

       During the course of the MPD investigation, management listened to the recording

and obtained the opinions of department members who had worked with Peterson and

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knew his voice and speech mannerisms. (DPFOF ¶ 22.) They stated that they could not rule

out that the voice belonged to Peterson. (Id.) One detective listened to the recording and

compared it with another recording (a conversation between Peterson and his son) and said

that the voices were similar. (PPFOF ¶ 7.) The MPD also sent the recording of the call to

the victim and a recording of Peterson’s voice to the FBI for voice comparison. (PPFOF ¶¶

8, 10; see also PPFOF ¶ 11.) The FBI reported back that the recordings were insufficient in

recording and/or voice quality, which prevented meaningful comparison with each other or

any other voice sample. (PPFOF ¶ 16A.)2 In October of 2009, during the pendency of the

John Doe investigation, Assistant Chief James Harpole sent an email to Deputy District

Attorney Kent Lovern asking about Peterson’s status. He noted that the department’s

current vacancy rate, coupled with long term leaves of absence, left him trying to maximize

the available detectives to cover the department’s work load. (PPFOF ¶ 25.) Harpole

indicated that he understood if additional time was necessary and did not intend to put

pressure on the DA’s Office to make a decision prematurely. (PPFOF ¶ 26.) In January

2010, Peterson requested a meeting with Chief Flynn; his request was denied due to the

pending investigation. (PPFOF ¶ 27.)

         Shortly after the citizen complaint was filed in early February 2009 against Peterson,

management reviewed the evidence (consisting primarily of the digital recording) and

concluded that Peterson should be placed on administrative duty while the MPD

investigations were pending. (DPFOF ¶ 11.) Peterson maintained the rank of detective. (Id.)

This is in accord with department policy, governed by MPD Standard Operating Procedure

(“SOP”) 450 – Personnel Investigations. (DPFOF ¶ 12.) When a complaint is made, the

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 After proposed finding of fact 18, the plaintiff started again at 14. Therefore, the repeated numbered paragraphs 14,
15, 16, 17, and 18 will be referred to as 14A, 15A, 16A, 17A, and 18A.
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case is independently reviewed to determine the nature of the case and the quality of the

evidence in order to determine if placing the department member on administrative duty is

appropriate. (Id.) Other members of the department have been placed on administrative

duty. (Id.) There are a number of reasons to put a department member on administrative

duty, including addressing the concern that a member who is under investigation may face

criminal charges or termination, which would in turn present problems with credibility as

well as the public trust in general. (DPFOF ¶ 14.) MPD management had several options

regarding what to do with Peterson while the investigation was pending: it could have

continued to have him work his regularly-assigned duties; placed him on administrative

duties with police powers (which is what MPD did); placed him on administrative duty

without police powers; or fully suspended him. (DPFOF ¶ 15.)

       The disposition the department gives to any member is independently determined

given the member’s assignment, the nature of the complaint, and the quality of the evidence

(as it is known at the time the decision is made). (DPFOF ¶ 16.) The disposition can change

as more information is obtained. (DPFOF ¶ 17.) Regardless of assignment, the more serious

the case and the stronger the evidence, the more likely that the department member will be

moved towards the most severe option—suspension. (Id.) At the time management decided

what disposition was sutiable for Peterson, management was aware that if true, the citizen

complaint would constitute a criminal act as well as a violation of the Code of Conduct and

SOPs. (DPFOF ¶ 18.) Management also knew that as a homicide detective, Peterson

worked on some of the most important cases in the department and occupied a position of

significant responsibility and public trust. (DPFOF ¶ 19.) These factors weighed in favor of

placing Peterson on administrative duty so as to contain the threat of his loss of credibility

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before courts and juries and so that he did not continue to work on homicide investigations

to which he was assigned in the event the complaint was substantiated or he was charged or

convicted of committing a crime. (DPFOF ¶ 20.) The decision to place Peterson on

administrative duty was buttressed by the fact that there was a digital voice recording of one

of the alleged calls of the suspect making the intimidating statements. (DPFOF ¶ 21.)

Additionally, as noted earlier, department members who worked with Peterson listened to

the recording and were not able to rule him out as the person on the recording. (DPFOF ¶

22.)

        Peterson was placed on administrative duty in February 2009. (DPFOF ¶ 24.) He

maintained the rank of detective throughout the time he was on administrative duty and

was paid for all the time he worked accordingly. (DPFOF ¶ 25.) The level of responsibility

in the duties Peterson was required to perform was reduced significantly compared to those

duties he had as a homicide detective. (DPFOF ¶ 26.) That is, in part, the point of

administrative duty and is true for every department member placed on administrative duty.

(Id.)

        While Peterson was on administrative duty, he worked in a support role under the

command of Captain Kurt Liebold and the immediate supervision of Lieutenant Thomas

Stigler. (PPFOF ¶ 45.) On administrative duty, Peterson worked answering phones,

assisting the homicide review committee, and dealt with large tasks concerning equipment,

desks, cars, etc. (PPFOF ¶¶ 70-71.) Peterson retained a positive attitude and performed his

duties with motivation and drive. (PPFOF ¶ 45.) Evaluations dated December 31, 2008;

June 30, 2009; December 31, 2009; December 31, 2010; June 30, 2011; December 31, 2011;



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June 30, 2012; and June 31, 2014 describe Peterson as an asset to the department and do not

indicate any area where improvement was needed. (PPFOF ¶ 72.)

       The frequency of overtime opportunities was significantly lower for Peterson while

on administrative duty compared to the opportunities available when he served as a

homicide detective. (DPFOF ¶ 27.) Peterson did work some overtime while on

administrative duty and was not denied, blocked, or prevented from working any overtime

that was available to him. (Id.) Per the Milwaukee Police Labor Agreement, department

members do not have a right to overtime. (DPFOF ¶ 28 (citing Milwaukee Police Labor

Agreement, Docket # 26-2 at Art. 5 ¶ 2).) The City is under no obligation to continue to

provide Peterson with an equivalent amount of overtime while he was assigned to

administrative duties as he had as a regular duty detective. (DPFOF ¶ 30.)

       As of August 2010, the John Doe investigation was still pending, though MPD

management had received multiple assurances from the DA’s Office that a charging

decision was imminent. (DPFOF ¶ 32.) Management decided not to wait any longer and

directed the internal criminal investigation be closed, subject to reopening pending new

information. (Id.) The internal criminal investigation was “[c]losed pending new

information” on August 6, 2010, though the John Doe proceeding remained pending.

(DPFOF ¶ 33; see also PPFOF ¶ 30.) Peterson signed an acknowledgment on August 10,

2010 that the criminal investigation was closed pending new information. (PPFOF ¶ 31.)

Per Harpole, this is not unusual; despite the best efforts of the investigators, at times there is

insufficient evidence to prove or disprove the allegation being investigated. (DPFOF ¶ 35.)

Harpole also avers that because the John Doe investigation was still pending, Peterson was

maintained on administrative duty because placing him back into regular duty could

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potentially compromise the integrity of then-present and future homicide investigations.

(DPFOF ¶ 36; see also PPFOF ¶ 46.)

       Internal affairs decided to proceed on the personnel investigation and a personnel

interview was conducted on August 4, 2010. (DPFOF ¶ 37.) DDA Lovern requested that

someone contact him to schedule a final review of the criminal matter with Peterson.

(PPFOF ¶ 32.) After being unsuccessful in scheduling something with Peterson’s lawyer,

Captain Patrick Mitchell and Lieutenant David Salazar issued an order requiring the

plaintiff to appear at the DA’s Office (PPFOF ¶ 33) in an attempt to ensure Peterson came

to the meeting (PPFOF ¶ 34). The detective assigned to deliver the order to Peterson was

instructed by Salazar to tell Peterson it was in his best interest to be present at the meeting if

he gave her “any bullshit.” (PPFOF ¶ 35.)

       On September 24, 2010, the DA’s Office conducted a charging conference, which

was attended by Peterson and his attorney, as well as MPD Detective Sebastian Raclaw,

who worked for the Professional Performance Division (“PPD”) in the Special

Investigations Section (“SIS”) and was assigned to Peterson’s internal investigation.

(DPFOF ¶¶ 38, 95, 97, 98; PPFOF ¶ 37.) DA Chisholm stated that his office was closing the

John Doe investigation and that though he believed there was probable cause that Peterson

committed the offense, he could not prove it beyond a reasonable doubt so no criminal

charges would be issued. (PPFOF ¶ 38; DPFOF ¶¶ 38, 100.) However, Chisholm stated that

he believed Peterson was guilty and that he was invoking Giglio v. United States, 405 U.S. 150

(1972), against him. (PPFOF ¶¶ 38, 47; DPFOF ¶¶ 38, 100.) Raclaw wrote a memo

summarizing the conference, which Harpole reviewed. (DPFOF ¶¶ 38, 99.) Raclaw

recommended that Peterson be placed in a position within the MPD that did not require

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him to testify. (PPFOF ¶ 39.) DA Chisholm also made this suggestion. (DPFOF ¶ 100.) The

DA’s Office closed its investigation on the day of conference, and the personnel

investigation was also closed that day. (DPFOF ¶ 46.)

       It was Harpole’s understanding of a subsequent conversation with Chisholm that

Chisholm believed that there was sufficient information obtained in the John Doe

investigation that went against Peterson’s credibility and truthfulness to lead him to believe

that his office would be compelled to disclose the information gathered in its investigation

against Peterson to the defense in any and all future criminal prosecutions in which Peterson

would be called to testify. (DPFOF ¶ 39.) It was also Harpole’s understanding that the DA’s

Office might refuse to put Peterson on the stand at all and potentially refuse to prosecute

any case in which he was involved. (Id.)

       According to Harpole, the DA’s Office’s decision came as a shock to management;

even though no criminal charges were to be issued and the MPD investigation was

unsubstantiated, Peterson’s career as a homicide detective would be effectively over as MPD

could not risk pending or future cases by having him work on them (and the DA’s Office

indicated it may not prosecute any cases with which he was involved). (DPFOF ¶ 40.) This

put the department in a bad position, and administrative detective positions do not exist.

(PPFOF ¶ 48.) Management was also concerned about the precedential effect of the

decision to invoke Giglio against department members in any future MPD investigations

where the members were not able to be completely cleared and the investigations were

similarly closed as unsubstantiated. (DPFOF ¶ 41; PPFOF ¶ 50.) Management disagreed

with the DA’s Office’s decision to invoke Giglio against Peterson, and management decided



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to attempt to convince the DA’s Office to reverse that decision.3 (DPFOF ¶ 42; PPFOF ¶

49.)

        In the interim, however, management determined that Peterson should remain on

administrative duty in order to avoid the risks imposed by Peterson being Giglio-impaired.

(DPFOF ¶ 42.) Harpole communicated personally with DDA Lovern regarding the Giglio

issue on several occasions—communicating management’s concerns and requesting that the

DA’s Office reconsider its decision. (DPFOF ¶ 43.) Particularly, on January 12, 2011,

Harpole sent an email to DDA Lovern regarding the final decision on Peterson, who had

not been criminally charged or charged with an administrative rule violation (a

preponderance of the evidence standard). (PPFOF ¶ 51.) He expressed concern with the

situation it put the department in—where every officer accused and/or investigated would

be subject to the same standard of disclosure—and stated that management was of the

opinion that it had no choice but to reinstate him like other officers who had been

investigated and not charged with a crime or rule violation. (PPFOF ¶¶ 52-53.)

        On January 12, 2011, the DA’s Office informed Harpole that it was reversing its

decision to invoke Giglio against Peterson. (DPFOF ¶ 44.) Upon receiving this information,

management reinstated Peterson to regular duty, and on January 18, 2011, Peterson

returned to the Homicide Investigations Unit at his request. (DPFOF ¶ 45; PPFOF ¶ 54.)

        Internal Discrimination Investigation

        On February 9, 2011, Peterson filed a complaint within the department stating that

he was being treated differently based on his race, noting he had been criminally


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 Though Peterson seems to agree that the MPD worked to get the Giglio decision reversed, he later asserts that
management “[stood] silent allowing [Peterson] to remain in this status for an unprecedented amount of time
without any evidence to support their findings.” (PPFOF ¶ 92.)
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investigated and though cleared of the charges, remained on administrative duty as of

December 27, 2010. (PPFOF ¶ 55.) On March 15, 2011, Sergeant Lisa Gagliano sent a

memo to Acting Captain Shunta A. Boston-Smith, which stated that Deputy Inspector

Denita Ball instructed members of the PPD to initiate an investigation in Peterson’s

allegations that he was maintained on administrative duty after being cleared in the criminal

investigation due to his race. (PPFOF ¶ 56.) The memo noted that if the allegation was

sustained, it could constitute a violation of department rules and procedure, the code of

conduct, and the SOPs. (PPFOF ¶ 57.)

       The PPD conducted an investigation and got information from Harpole who

explained the investigations into the witness intimidation allegation, that the DA’s Office

decided to invoke Giglio, and that the DA’s Office reversed its decision, at which time

Harpole returned Peterson to Homicide. (PPFOF ¶¶ 58-62.) Peterson stated that he felt he

had been demoted when he was assigned “to the garage as the first African American

detective,” stating that the duties were not fitting for a detective. (PPFOF ¶ 63.) He also

stated that he felt Caucasian officers had been reinstated at the conclusion of their internal

investigation but that he was treated differently because of his race. (Id.) Ultimately, the

PPD found that Peterson’s allegations of race discrimination could not be sustained.

(PPFOF ¶¶ 64, 69.)

       ERD and EEOC Complaints

       In July 2011, Peterson filed a complaint with the Department of Workforce

Development, Equal Rights Division (“ERD”) (Case No. CR201101452). (PPFOF ¶ 73;

DPFOF ¶ 84.) The case was also cross-filed with the Equal Employment Opportunities

Commission     (“EEOC”)      under   the   work    sharing   agreement    in   case   number

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26G201101289C. (PPFOF ¶ 73; DPFOF ¶ 86.) On March 20, 2012, the ERD determined

that there was no probable cause to believe that the City violated the Wisconsin Fair

Employment Law as it pertained to retaliation for filing the complaint, but it determined

that there was probable cause to believe the City violated Wisconsin Fair Employment Law

in terms of his complaint that he was discriminated against because of his race. (PPFOF ¶¶

74.)4 On April 9, 2013, the ERD matter was voluntarily dismissed upon Peterson’s motion

at a Hearing on the Merits. (DPFOF ¶ 87.) Peterson requested that the EEOC conduct an

investigation. (Id.) On June 6, 2014, the EEOC issued a Notice of Dismissal and a Right to

Sue letter without finding there was any reasonable cause to believe that discrimination

occurred as Peterson alleged in his complaint. (DPFOF ¶ 89.) Peterson subsequently filed

this lawsuit. (DPFOF ¶ 91.)

        Retaliation Claim

        Carrianne Yerkes is an Inspector of Police in the MPD, and she was the Bureau

Commander of Specialized Investigations at all times relevant to this case. (DPFOF ¶¶ 51-

52.) The Bureau of Specialized Investigation included Metropolitan Investigations, which

included the Homicide Investigations Unit. (DPFOF ¶ 53.) When Yerkes was assigned as

commander in 2012, Peterson was already assigned to the Homicide Unit. (DPFOF ¶ 54.)

On February 26, 2014, Lieutenant Raymond Gibbs, a supervisor under Yerkes’ command,

drafted a memo concerning a conversation/counselling he had with Peterson. (DPFOF ¶¶

55, 56; Exh. 1000, Docket # 25-1.) The memo states that Gibbs advised Peterson about two

incidents where Peterson had failed to file supplemental reports detailing his investigation in

a timely fashion. (Docket # 25-1 at 1.) On both occasions, the lateness of his reports had

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 This proposed finding of fact incorporates paragraph 74, as well as the paragraph below it, which is not numbered.
Numbering begins with the next paragraph at 75.
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adversely affected homicide trials. (Id.) Specifically, Peterson failed to file two necessary

reports in two separate homicide investigations: State v. Newman, Milwaukee County Case

No. 12-CF-6028 and State v. Gill, Milwaukee County Case No. 2013-CF-617. (DPFOF ¶

59.) In Newman, a mistrial was declared on January 24, 2014 due in part to evidentiary

problems with the State’s case. (DPFOF ¶ 60.) The Gill matter was eventually dismissed on

March 13, 2014, also due in part to evidentiary problems with the State’s case. (DPFOF ¶

61.)

       In the memo, Gibbs wrote that Peterson had been admonished in court on February

21, 2014 by Milwaukee County Judge Stephanie Rothstein for both the tardiness and the

quality of his report. (Docket # 25-1.) Gibbs advised Peterson that this would not be

tolerated. (Id.) Peterson stated that he agreed that the two incidents were unacceptable, and

they discussed ways in which Peterson could ensure that he did not forget to file reports.

(Id.) Gibbs stated that he believed that counselling Peterson was the proper measure of

discipline and that nothing further was needed at that time. (Id. at 1-2; see also PPFOF ¶ 97.)

In discussions with Gibbs, it was decided that the memo and counseling was to be the

discipline Peterson would receive for his failure to file the reports. (DPFOF ¶ 62.)

       As noted above, Peterson’s credibility was called into question by Judge Rothstein

on February 24, 2014. (DPFOF ¶ 67.) Judge Rothstein indicated that conflicts in his

testimony in the Gill case were the basis. (Id.) Captain Jeff Point, a supervisor under Yerkes,

wrote a memo to Yerkes memorializing the information he gathered about the incident.

(DPFOF ¶¶ 63-64; Exh. 1001, Docket # 25-2; PPFOF ¶ 98.) Yerkes received Point’s memo

on or about March 5, 2014. (DPFOF ¶ 66.) According to Point, subsequent to Peterson’s

failure in the Newman case on or about January 24, 2014, Assistant District Attorney Mark

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Williams indicated that he did not believe that Peterson’s ability to testify effectively in

future homicide case was compromised at that time. (DPFOF ¶ 68.) Subsequent to Judge

Rothstein’s comments in Gill, however, ADA Williams indicated that Peterson’s credibility

had been compromised and that, at a minimum, the DA’s Office could not use Peterson in

any prosecution before Judge Rothstein and that he believed it would not be long before

Peterson’s credibility would be compromised throughout the county. (DPFOF ¶ 68.)

       Upon learning of this information, Yerkes became concerned about Peterson’s ability

to effectively be involved in any homicide investigation going forward. (DPFOF ¶ 70.) On

March 26, 2014, Yerkes met with Judge Rothstein in a one-on-one meeting. (DPFOF ¶ 71.)

Judge Rothstein expressed concerns with the practices of Metropolitan Investigations

generally and that she specifically had concerns about Peterson’s credibility. (Id.) Judge

Rothstein did not express similar concern about any other specific member of the MPD.

(DPFOF ¶ 72.) Yerkes avers that it is essential that homicide detectives (as well as any other

MPD personnel involved in homicide investigations) not have unfavorable credibility

determinations; a detective’s poor credibility could compromise an entire homicide

investigation and prosecution. (DPFOF ¶ 73.) Yerkes determined that due to Peterson’s

compromised credibility it was in the best interest of the City, the department, and the

preservation of the integrity of any future investigations that Peterson no longer participate

in homicide investigations and no longer be assigned to the Homicide Investigation Unit.

(DPFOF ¶ 74.) She decided to transfer Peterson to the Investigative Management Division

where he could act as a liaison to the DA’s Office. (DPFOF ¶¶ 75-76; see also PPFOF ¶¶ 93,

95.) He was transferred on April 8, 2014. (PPFOF ¶¶ 76-77.)



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       This type of transfer is not unprecedented in the MPD, and department members

have been transferred from one position to another for similar reasons. (DPFOF ¶ 77.)

Yerkes selected the particular position of liaison to the DA’s Office because Peterson’s

credibility would not pose any significant problem in the performance of his duties as a

liaison. (DPFOF ¶ 78.) Peterson was not demoted as a result of this transfer; he maintained

his rank of detective, and he continues to hold that job assignment and rank. (DPFOF ¶ 79.)

Yerkes avers that she did not transfer Peterson due to his race or in retaliation against him

for any reason. (DPFOF ¶ 80.) Yerkes was not aware that Peterson had filed any equal

employment opportunity complaints against the MPD or the City until after this case was

filed. (DPFOF ¶ 81.)

       Peterson’s duties and responsibility as a liaison for the DA’s Office include providing

testimony at preliminary hearings at the request of the DA’s Office. (PPFOF ¶ 87.)

       Polygraph

       On April 15, 2014, Peterson wrote Gibbs about his polygraph certification. (PPFOF

¶ 80.) Peterson filed an EEOC complaint on November 26, 2014 alleging discrimination by

the MPD. (PPFOF ¶ 81.) At the time of his transfer, he was the senior polygraphist. (Id.) He

was replaced by a Caucasian. (Id.) The MPD has three active polygraphists, all of whom are

Caucasian and have been polygraphists for less time than Peterson. (Id.) Gibbs avers that

Peterson was trained on an older system, and around June 2014, MPD management

decided to phase out the older system. (Declaration of Raymond Gibbs, Docket # 35-1 at ¶¶

4-5, 12.) The new system required its own training and certification, which was both

extensive (10 weeks) and expensive ($10,000.00). (Id. at ¶ 7.) On June 2, 2014, there were

two detectives certified in the new system, and the MPD posted a vacancy for interested

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detectives to get certified to fill the third slot. (Id. at ¶¶ 9, 11.) Peterson did not apply and

was therefore not considered. (Id. at ¶ 13.) No more polygraphs are being conducted on the

system he was trained on. (Id. at ¶¶ 12, 14.) The EEOC issued a Right to Sue letter on

December 2, 2014. (PPFOF ¶ 86.)

                                         ANALYSIS

       Construing Peterson’s complaint and other pleadings broadly, he makes several

arguments. First, he argues that he was discriminated against in violation of Title VII of the

Civil Rights Act of 1964, 42 U.S.C. § 1981, and 42 U.S.C. § 1983 when he was placed on

administrative duty while investigations into criminal allegations against him were pending

and then not reinstated promptly upon the close of those investigations. Second, he argues

that he was retaliated against in violation of Title VII, § 1981, and § 1983 for filing

complaints with the EEOC and ERD when he was transferred from the Homicide Unit to

being a DA’s Office liaison.

       1. Administrative Duty – Race Discrimination

       Peterson’s argument that the City violated Title VII, § 1981, and § 1983 as it relates

to placing him on administrative duty has two components: Peterson argues that both the

decision to place him on administrative duty and the decision to not reinstate him at the

conclusion of the dual investigations were motivated by race.

       A plaintiff can establish discrimination under all three statutes using either the direct

or indirect method of proof. Burks v. Wisconsin Dept. of Transp., 464 F.3d 744, 750 n.2 (7th

Cir. 2006) (explaining that claims under Title VII and § 1983 “should be analyzed in the

same way and . . . the same standard of liability should be imposed.”); Gonzales v. Ingersoll

Mill. Mach. Co., 133 F.3d 1025, 1035 (7th Cir. 1998) (“The same standards governing

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liability under Title VII apply to section 1981.”).5 The direct method requires that the

plaintiff provide direct or circumstantial evidence of the employer’s discriminatory animus.

Johnson v. General Bd. of Pension & Health Benefits of United Methodist Church, 733 F.3d 722, 727

(7th Cir. 2013). The indirect method, by contrast, requires the plaintiff to follow the burden-

shifting framework set forth in McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802–04

(1973). Id. at 728. Under the McDonnell Douglas framework, after the plaintiff makes a prima

facie case of discrimination, the burden shifts to the employer to articulate a legitimate non-

discriminatory reason for its action. Id. Doing so shifts the burden back to the plaintiff to

show that the employer’s proffered reason is pretext, which then permits an inference that

the employer’s real reason was unlawful. Id.

         1.1      Direct Method

         Under the direct method, the plaintiff must produce either direct or circumstantial

evidence that would permit a jury to infer that discrimination motivated an adverse

employment action. Diaz v. Kraft Foods Global, Inc., 653 F.3d 582, 587 (7th Cir. 2011). Direct

evidence is something close to an explicit admission by the employer that a particular

decision was motivated by discrimination; this type of evidence is rare, but it “uniquely

reveals” the employer’s intent to discriminate. Id. More common is circumstantial evidence,

which “suggests discrimination albeit through a longer chain of inferences.” Id. (internal

citation omitted). A plaintiff can survive summary judgment by producing either type of

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  Whether Peterson can proceed under § 1981 is not clear. As the text of the statute makes clear, § 1981 governs a
person’s rights in terms of contracts. It is not clear whether Peterson has a contract with the City. Because, however,
this claim is decided in the same way as a Title VII claim, I will address it on the merits. So, too, with Peterson’s
claim under § 1983. Because he is proceeding against the City (and not an individual defendant), any claim brought
under § 1983 must be brought under Monell v. Dep’t of Social Services of the City of New York, 436 U.S. 568
(1978). That is, the plaintiff must allege that the wrong committed against him was caused by the local government
(the City) acting under an official policy or custom. Peterson does not make arguments about policies or customs,
but because a claim under § 1983 (like § 1981) is analyzed under the same framework as a claim under Title VII, I
will address it on the merits. That is, all three claims—Title VII, § 1981, and § 1983—will be addressed together.
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evidence as long as it creates a triable issue on whether discrimination motivated the

employment action. Id. Our cases point to three categories of circumstantial evidence: (1)

ambiguous statements or behavior towards other employees in the protected group; (2)

evidence, statistical or otherwise, that similarly situated employees outside of the protected

group systematically receive better treatment; and (3) evidence that the employer offered a

pretextual reason for an adverse employment action. Id. A plaintiff need not produce

evidence in each category to survive summary judgment. Id.

       Peterson has not produced any evidence that the decision to place him on

administrative duty or the decision to maintain him on administrative duty even after the

conclusion on the investigations was motivated by his race. Given the lack of a direct

admission, Peterson must provide a “convincing mosaic” of circumstantial evidence that

directly points to discriminatory reason for the employer’s action. Davis v. Con–Way Transp.

Cent. Express, Inc., 368 F.3d 776, 783 (7th Cir. 2004). Peterson seems to make a general

argument that the MPD’s failure to reinstate him at the close of the DA’s Office’s

investigation shows that his placement on administrative duty was motivated by race-based

animus. However, this does not create a triable issue of fact on whether race discrimination

motivated the MPD’s decision not to immediately reinstate him in the Homicide

Investigations Unit at the close of the investigations. Indeed, the City has explained, and

Peterson does not dispute, that even though the John Doe and internal investigations were

closed, Peterson was Giglio-impaired. Therefore, he would not be able to participate in

homicide investigations and prosecutions without posing a risk to those investigations and

prosecutions based on his diminished credibility. That is, Peterson has not presented



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evidence that, taken together, points to his race being the motivation behind the

department’s failure to reinstate him to Homicide immediately.

       1.2    Indirect Method

       Under the indirect method of proof, a plaintiff can “avert summary judgment” by

establishing a prima facie case of discrimination under the McDonnell Douglas formula. Lewis

v. City of Chicago, 496 F.3d 645, 650 (7th Cir. 2007). Once a plaintiff establishes a prima facie

case, the burden shifts to the defendant “‘to produce a legitimate, noninvidious reason for its

actions.’” Hobbs v. City of Chicago, 573 F.3d 454, 460 (7th Cir. 2009) (quoting Atanus v. Perry,

520 F.3d 662, 672 (7th Cir.2008)). If the defendant rebuts the prima facie case, the burden

then shifts back to the plaintiff to show that the reasons proffered by the defendant are

merely pretextual. Id.

       Even assuming that Peterson could establish a prima facie case, the City has provided

a legitimate, non-discriminatory reason for failing to remove Peterson from administrative

duty immediately upon the close of the investigations. Namely, the DA’s Office had

invoked Giglio against Peterson, meaning that the prosecution would have to disclose

credibility-undermining materials to the defense in any case where he would serve as a

witness. This meant that in any case where Peterson worked as a detective and/or served as

a witness, his ability to provide credible testimony would be undermined. In turn, homicide

prosecutions could, and likely would, be compromised. Furthermore, Peterson cannot show

that this reason was pretextual. The defendants have stated, and Peterson admits, that

management worked to have the DA’s Office’s Giglio decision reversed; they were worried

not only about Peterson but also about the precedent it would set for other officers who

were the subject of investigations that were found to be unsubstantiated. What is more, once

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the DA’s Office reversed its decision to invoke Giglio against Peterson, he was immediately

removed from administrative duty and returned to the Homicide Investigations Unit per his

request. This further evidences that the department had a legitimate reason to maintain

Peterson on administrative duty; as soon as the MPD was able, it reinstated him to his job

as a homicide detective.

        Because the City has provided a legitimate, non-discriminatory reason for

maintaining Peterson on administrative duty past the close of the investigations and

Peterson cannot show it was pretextual, his claims based on a failure to reinstate cannot

survive summary judgment and are dismissed.

        2. Retaliation – Transfer from Homicide

        Peterson’s second claim also arises under Title VII, § 1981, and § 1983. Peterson

argues that when he was transferred from his position as a homicide detective to a position

working as a liaison for the DA’s Office, it was done in retaliation for filing claims with the

ERD and the EEOC. Peterson’s retaliation claims are analyzed under the same framework,

whether brought under Title VII or § 1981, Humphries v. CBOCS West, Inc., 474 F.3d 387,

404 (7th Cir. 2007); thus, I will analyze his retaliation claims together.6

        To overcome the defendants’ motion for summary judgment, Peterson may proceed

under either the direct or indirect methods. See id. I will discuss each in turn. However, I

will begin with the City’s argument that Peterson did not exhaust his retaliation claim as

required by Title VII. Generally, “a Title VII plaintiff cannot bring claims in a lawsuit that

were not included in [his] EEOC charge.” Cheek v. Western and Southern Life Ins. Co., 31 F.3d


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 The Sixth Circuit has found that Title VII may preempt a claim for retaliation. Day. Wayne County Bd. of Auditors,
749 F.2d 1199, 1205 (6th Cir. 1984). However, I will analyze the retaliation claim as I did the discrimination
claim—together with the other two claims.
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497, 500 (7th Cir. 1994) (citing Alexander v. Gardner-Denver Co., 415 U.S. 36, 47 (1974)).

Though the rule is not jurisidictional, it is nonetheless a condition precedent with which a

plaintiff bringing a Title VII claim must comply. Id. (citing Babrocky v. Jewel Food Co., 773

F.2d 857, 864 (7th Cir. 1985)). Peterson’s July 2011 ERD and EEOC charges alleged race-

based discrimination in the department’s decision to maintain him on administrative duty

after the internal and John Doe investigations were closed. (See Exh. 1008, Docket # 27-1.)

His second EEOC filing, filed in January 2014, alleged that he was discriminated against

because of his race and retaliated against for filing with the ERD and EEOC when he was

transferred from the homicide department (and was no longer a polygraphist). (Docket #

30-1 at 138.) He did not receive his Right to Sue letter from the EEOC until December 2,

2014, approximately three months after he filed the present lawsuit. (Id. at 139.) Therefore,

Peterson did not exhaust his retaliation claim prior to filing this lawsuit. This in and of itself

is grounds for summary judgment on Peterson’s retaliation claim. However, even on the

merits, Peterson cannot defeat summary judgment.

       2.1     Direct Method

       Under the direct method, Peterson must present direct evidence of (1) a statutorily

protected activity; (2) a materially adverse action taken by the employer; and (3) a causal

connection between the two. Humphries, 474 F.3d at 404. The City does not dispute that

Peterson engaged in a statutorily protected activity when he filed complaints with the ERD

and the EEOC in July 2011. (Br. in Support of Mtn. for Summary Judgment, Docket # 23

at 6.) I will therefore begin with the question of whether Peterson’s transfer to working as a

liaison for the DA’s Office was a materially adverse action.



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       For an employment action to be adverse, “the challenged action must be one that a

reasonable employee would find to be materially adverse such that the employee would be

dissuaded from engaging in the protected activity.” Arizanovska v. Wal-Mart Stores, Inc., 682

F.3d 698, 704 (7th Cir. 2012) (internal quotation and citations omitted). In Burlington

Northern and Santa Fe Ry. Co. v. White, 548 U.S. 53, 68 (2006), the Supreme Court stated that

“[w]e speak of material adversity because we believe it is important to separate significant

from trivial harms.” (emphasis in original). The Court noted that Title VII is not a “general

civility code for the American workplace” and that “[a]n employee’s decision to report

discriminatory behavior cannot immunize that employee from those petty slights or minor

annoyances that often take place at work and that all employees experience.” (Id.) Rather,

the antiretaliation provision seeks to prevent employer interference with “unfettered access”

to Title VII’s remedial mechanisms and it does so by prohibiting employer actions that are

likely “to deter victims of discrimination from complaining to the EEOC,” the courts, and

their employers. Id. (internal quotation and citation omitted). Normally petty slights, minor

annoyances, and simple lack of good manners will not create such deterrence. Id. The Court

further stated that “[w]e refer to reactions of a reasonable employee because we believe that

the provision’s standard for judging harm must be objective” because “[i]t avoids the

uncertainties and unfair discrepancies that can plague a judicial effort to determine a

plaintiff’s unusual subjective feelings.” Id. at 68-69.

       As noted above, Peterson argues that his transfer from homicide to working as a

liaison for the DA’s office was the adverse action taken against him in retaliation for filing

complaints with the ERD and EEOC. Lateral transfers constitute a materially adverse

employment action if it affects the employee’s wages, benefits, responsibilities, or working

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conditions. See Mercer v. Cook Cnty., Ill., 527 Fed. Appx. 515, 522 (7th Cir. 2013) (“[A] mere

transfer—without more, such as a reduction in pay or significantly diminished

responsibilities or working conditions—falls below the level of an adverse employment

action necessary to support a claim of discrimination or retaliation.”).

       The transfer from the homicide unit did not result in Peterson losing his rank; he

maintained, and continues to maintain, his rank as detective. (DPFOF ¶ 79.) There is no

evidence in the record about Peterson’s benefits. As for his wages, he makes a vague

allegation in his complaint about salary. Specifically, he noted that in 2013, he was listed in

the Milwaukee Journal Sentinel as the highest-paid detective, making $148,000.00, which

included overtime. (Am. Compl., Docket # 9 at ¶ 446.) He seems to state that he now

makes less—closer to $75,000—because he no longer receives roll call. (Id.) The allegations

about overtime, for the most part, seem to concern his time on administrative duty. Peterson

states that among his duties and responsibilities as a liaison for the DA’s Office is providing

testimony at preliminary hearings (PPFOF ¶ 87) and swearing to criminal complaints (Dec.

of Mark A. Peterson, Docket # 32 at ¶ 56). He does not further elaborate on the differences

between his duties as a detective and his job as a liaison.

       However, even assuming that Peterson did suffer an adverse employment action, he

cannot meet the third element: a causal connection between the protected activity and the

adverse employment action. The defendant has presented, and Peterson has not disputed,

evidence that prior to his transfer, Peterson had made errors that contributed to the

dismissal of two prosecutions. A judge in Milwaukee County met with Peterson’s

supervisor, Inspector Yerkes, and conveyed her concerns not only with the department in

general, but with Peterson explicitly (she did not express concern about any other specific

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member of the MPD). The DA’s Office also had concerns; specifically, given Judge

Rothstein’s perception of Peterson, the ADA expressed concern that Peterson’s credibility

would be compromised throughout the county. Given the concerns with his credibility,

Yerkes determined that it was in Peterson’s, the City’s, and department’s best interests that

he no longer participate in homicide investigations and transferred him to the Investigative

Management Division where would serve as a liaison to the DA’s Office. Thus, the record

demonstrates that leading up to his transfer, management at MPD had concerns about

Peterson’s ability to effectively participate in homicide investigations and prosecutions.

Furthermore, and most importantly, there is uncontroverted evidence that Yerkes had no

knowledge of the ERD and EEOC complaints. This, too, shows a lack of a causal

connection between the protected activity and the adverse employment action. Peterson,

therefore, cannot show he was retaliated against under the direct method of proof.

       2.2    Indirect Method

       Under the indirect method, Peterson must show that after opposing the employer’s

discriminatory practice only he, and not any similarly situated employee who did not

complain of discrimination, was subjected to a materially adverse action even though he

was performing his job in a satisfactory manner. Humphries, 474 F.3d at 404. Thus, the

indirect “method of establishing a prima facie case requires proof both of similarly situated

employees and of the plaintiff’s performing his job satisfactorily.” Id. (internal quotation and

citation omitted).

       Here, the record reflects that Peterson’s transfer was a result of his diminished

credibility. In February 2014, Inspector Yerkes became aware that Peterson had failed to file

reports in two homicide cases—Newman and Gill. Eventually, both cases were dismissed: a

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mistrial was declared in Newman and Gill was dismissed, both due in part to evidentiary

issues with the State’s case. Peterson was counseled about his failure to file these reports.

Subsequently, as outlined above, a Milwaukee County judge called Peterson’s credibility

into question both on the record and in private conversation with Inspector Yerkes. The

judge’s opinion of Peterson (and seemingly the department), as well as the DA’s Office’s

opinion that Peterson’s credibility would quickly be compromised throughout the county,

led Yerkes to become concerned about his ability to be effectively involved in any homicide

case going forward. She decided to transfer from homicide to a position where his credibility

would not pose a significant problem. Therefore, even if Peterson had presented evidence on

similarly situated employees,7 he cannot show that he was performing his job in a

satisfactory manner. He cannot meet his burden under the indirect method of proof.

         Because Peterson has not presented evidence that would, if believed by the jury,

allow the jury to find in his favor, summary judgment is appropriate on his retaliation claim.

         3. Discrimination – Transfer from Homicide

         Construing Peterson’s complaint very broadly, it appears that he is also claiming that

his transfer from homicide was based on race discrimination. As outlined above, a

discrimination claim under Title VII, § 1981, and/or § 1983 allows a plaintiff to proceed

under either or both the direct and indirect methods of proof. As with his discrimination

claim based on the department maintaining him on administrative duty, Peterson has not

presented evidence that would allow a reasonable jury to find in his favor on this claim. He

has presented no direct evidence that he was transferred from homicide because of his race,


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 In his complaint, Peterson makes some allegations about similarly situated employees. However, he provides no
evidence to support these allegations as is required for summary judgment. Therefore, they are not part of the record
for purposes of deciding this motion.
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nor has he pointed to a mosaic of circumstantial evidence that directly points to

discriminatory intentions. Similarly, even assuming that Peterson could make a prima facie

case under the indirect method of proof, the City has offered a legitimate reason for

transferring him: his diminished credibility. Peterson has not presented evidence that would

allow a jury to find that this reason supplied by the City is pretextual. Though Peterson

argues that the fact that he was still required to testify in court shows the City’s reason was

pretextual, this argument is unavailing. As the defendant argues, the burden the State must

meet at a preliminary hearing and the burden the State must meet at a trial are very

different. In turn, the degree of scrutiny of a witness’ testimony is different. Accordingly, I

do not find this fact defeats the evidence the City has put forward about its reason for

transferring Peterson. Therefore, to the extent that Peterson is claiming that his transfer out

of homicide was because of his race, summary judgment is appropriate on his claim.

       4. Retaliation and Discrimination – Polygraph

       Finally, Peterson seems to claim that he was no longer allowed to serve as a

polygraphist in retaliation for his filing of complaints with the ERD and EEOC and because

of race-based discrimination. Even assuming this claim was administratively exhausted with

the EEOC, summary judgment is appropriate. There is uncontroverted evidence that the

MPD was phasing out the polygraph system in which Peterson was trained. In June 2014,

two detectives were certified in the new system, and the department posted a vacancy for

interested detectives to get certified to fill the third slot. Most importantly, there is

uncontroverted evidence that Peterson did not apply for this position. “If a plaintiff does not

apply for a job vacancy that is posted, he cannot make a prima facie case for unlawful

discrimination or retaliation . . . unless [he] demonstrates that the employer’s discriminatory

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practices deterred [him] from applying.” Hudson v. Chicago Transit Authority, 375 F.3d 552,

558 (7th Cir. 2004) (internal citation omitted). Here, Peterson did not apply to become the

third polygraphist trained in the new system, and he has not presented any evidence (or

argument) that he was deterred from applying. Therefore, he cannot defeat summary

judgment on any claim relating to his no longer being a polygraphist.

                                      CONCLUSION

       Peterson has alleged numerous claims of discrimination and retaliation under Title

VII, § 1981, and § 1983. Having reviewed the record, construing it in his favor (and liberally

construing his pleadings), I find that there are no disputes of material fact and that the

evidence would not allow a rational jury to find in Peterson’s favor. Therefore, summary

judgment is appropriate and the defendant’s motion is granted.

                                          ORDER

       NOW, THEREFORE, IT IS ORDERED that the defendant’s Motion for Summary

Judgment (Docket # 22) is GRANTED.

       IT IS ALSO ORDERED that this case be and hereby is DISMISSED. The Clerk of

Court is directed to enter judgment in favor of the defendant.



       Dated at Milwaukee, Wisconsin this 23rd day of December, 2015.


                                                  BY THE COURT:

                                                  s/Nancy Joseph _________ ___
                                                  NANCY JOSEPH
                                                  United States Magistrate Judge



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